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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS                        ZO2UMAY    2    Pu

                                      AUSTIN DIVISION

 CHARLES GRIGSON, LISA FIOING, and              §
 DAVID KELLY, Individually and on behalf        §
 of all putative class members,                 §
                                                §
           Plaintiffs,                          §
                                                §
                                                    Civil Action No. 1 :17-CV-00088-LY
 V.                                             §
                                                §
 FARMERS GROUP, INC.,                           §
 a Nevada corporation,                          §
                                                §
           Defendant.                           §


 ORDER REGARDING COURT OPERATIONS FOR MAY 22. 2020 FINAL FAIRNESS
                           HEARING

       In its preliminary approval order, the court scheduled a final Fairness Hearing for May 22,

2020, at 9:30 a.m., for the proposed class action settlement in the above-captioned matter.   (See


Clerk's Doc. # 178)

       Due to the COVID- 19 pandemic, access to the courthouse is limited throughout the month

of June.   See   Supplemental Order Regarding Court Operations Under the Exigent Circumstances

Created by the COVID- 19 Pandemic and Order Extending Order Relating to the Entry into the

United States Courthouse Austin, Texas [https://www.txwd.uscourts.gov/coronavirus-covid- 19-

guidance], it is hereby ORDERED that:

       The Fairness Hearing will be held remotely using ZOOM (link below). The Fairness

Hearing will be held at the previously scheduled time, Friday, May 22, 2020 at 9:30 a.m. Central

Time. Attendees should Zoom-in or dial-in by no later than 9:00 a.m. to make sure the start of the

hearing is not delayed.

             o ZOOM link for Fairness Hearing: https://www.zoorngov.com/j/1608589818
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       Class members who filed a timely objection will be provided an opportunity to speak.

       For those who cannot attend using ZOOM, you may attend by telephone instead. The

telephone dial-in information is:

           o Telephone information for Fairness Hearing:

                       Dial (669) 254-5252 or (646) 828-7666

                       Meeting ID: 160 858 9818

       For questions relating to technical issues, please contact Samantha Oakes, Courtroom

Deputy, at Samantha_Oakestxwd.uscourts.gov or 512-391-8702.



       SIGNED this                  day of May, 2020.




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